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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   SAMANTHA SCHREIBER,

                               Plaintiff,

   -vs-                                                 Case No. 6:09-cv-1994-Orl-22KRS

   STF INVESTMENTS, LLC,

                           Defendant.
   ______________________________________


                                   ORDER OF DISMISSAL

                 This case is before the Court upon periodic review.

                 The Plaintiff filed Return of Service (Doc. No. 8) indicating the Defendants STF

   Investments, LLC, was served a copy of the Summons and Complaint on January 11, 2010.

   The Defendants did not appear or respond within the time and in the manner provided by

   Rule 12, Federal Rules of Civil Procedure. Default was entered by the Clerk (Doc. 10) on

   February 4, 2010, upon motion by the Plaintiff in compliance with Rule 55(a), Fed.R.Civ.P.,

   for such entry of default (Doc. 9). Plaintiff Samantha Schreiber has subsequently failed to

   apply for a default judgment in accordance with Rule 55(b), Fed.R.Civ.P.

                 Middle District of Florida Local Rule 1.07(b) states that upon failure to comply

   with the above rules, the case shall be subject to dismissal sixty (60) days after such service

   without notice and without prejudice; provided, however, such time may be extended by

   order of the Court on reasonable application with good cause shown.
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                 Therefore, it is ORDERED that this case is hereby dismissed without prejudice

   for failure to prosecute. The Clerk is directed to close this case.


                 DONE and ORDERED at Orlando, Florida, on April 7, 2010.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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